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Case 1:17-Cv-24103-MGC Document 18~1 Entered on FLSD Docket 12/01/2017 Page 31 ot 31

 

Supreme Court of Florida

500 South Duval Street
tallahassee Florida 32399~1925

Jokorz LABARGA JonN A TGMASINO
times Jus'nm-; CLERK or Counr
HAKEARA J. PA:nEN‘rF, 3 D
R, szn Lawls - lLvEsreR rawson
.P:rem' A, Qnmce IHHIJtll‘y 20, 2016 MArth-W.
CHARLES 'l". CANADY
Rlcx<\' Pot,s'row
JAMES E\ C. PEaRY
los-ncaa

John F, I-larl_mess, Jr.
Execu_tive Direetor

The F]orida Bar

651 E. Jefferson Street
'1`allahassee, FL _3239‘9-6584*

Dear Mr. Harkness:.

The Court has reviewed and considered the recent decision in N.C. State Board of Dental
Exam"rs v. FT_C, 135 S, Ct. 1101 (2015). First, the Court is of the view that neither tire
Court collectively nor the individual members of the Court. are “active market
pertieipants” and We are prohibited from beingl “aetive market participants.” Second1y,
the Ceurt is ofthe view that the Court is engaged in “active supervision_” of actions and
policies that impact the legal profession

However,, to be cautious and conservative in our consideration of the issues involved With
this subject matter, we request that The _FloridaBa;r conduct an internal review and
_anaiysis to make certain that all aetions,` conduct and policies -cont`onn and comply with
federal law and any related guid-eiines. We request that The F.lorida Bar report to this
Court the findings ofthe internal analysis and submit any recommendations for
consideration by the Court with regard to the active Supervision by the Court of actions
and policies of The Florida Bar.

    

   

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